        Case: 23-50224    Document: 69    Page: 1    Date Filed: 05/10/2023




                    United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                      TEL. 504-310-7700
CLERK                                                           600 S. MAESTRI PLACE,
                                                                        Suite 115
                                                               NEW ORLEANS, LA 70130

                                May 10, 2023


Mr. Jonathan F. Mitchell
111 Congress Avenue
Suite 400
Austin, TX 78701-0000

      No. 23-50224       Little v. Llano County
                         USDC No. 1:22-CV-424


Dear Mr. Mitchell,
In light of the court order of 5/5/23 granting the motion to
expedite the above captioned appeal, please adhere to the following
expedited briefing schedule.
  •   Appellants brief is due on 05/16/2023
  •   Appellees brief is due on 05/26/2023
  •   Appellants reply brief is due on 06/02/2023

The case is calendared for oral argument Wednesday, June 7, 2023.
A copy of the court’s printed calendar indicating the exact date
and time of the hearing will be provided prior to the hearing date.
Please adhere to the expedited briefing schedule without
requesting extensions in order to ensure the availability of the
briefs to the court prior to oral argument.
Record Excerpts: 5th Cir. R. 30.1.7(c) provides that the electronic
PDF version of the record excerpts should contain pages
representing the "tabs" identified in the index of the document.
However, we remind attorneys that the actual paper copies of record
excerpts filed with the court must contain actual physical tabs
that extend beyond the edge of the document, to facilitate easy
identification and review of tabbed documents.
Brief Covers: THE CASE CAPTION(S) ON BRIEF COVERS MUST BE EXACTLY
THE SAME AS THE CASE CAPTION(S) ON THE ENCLOSED TITLE CAPTION
SHEET(S). YOU WILL HAVE TO CORRECT ANY MODIFICATIONS YOU MAKE TO
THE CAPTION(S) BEFORE WE SUBMIT YOUR BRIEF TO THE COURT.
Dismissal of Appeals: The clerk may dismiss appeals without notice
if you do not file a brief on time, or otherwise fail to comply
with the rules.
      Case: 23-50224   Document: 69   Page: 2   Date Filed: 05/10/2023




Appearance Form: If you have not electronically filed a "Form for
Appearance of Counsel," you must do so within 14 days of this date.
You must name each party you represent, See Fed. R. App. P. and 5th
Cir. R. 12. The form is available from the Fifth Circuit’s website,
www.ca5.uscourts.gov.
ATTENTION ATTORNEYS: Direct access to the electronic record on
appeal (EROA) for pending appeals will be enabled by the U S
District Court on a per case basis. Counsel can expect to receive
notice once access to the EROA is available.      Counsel must be
approved for electronic filing and must be listed in the case as
attorney of record before access will be authorized. Instructions
for accessing and downloading the EROA can be found on our website
at                      http://www.ca5.uscourts.gov/docs/default-
source/forms/instructions-for-electronic-record-download-
feature-of-cm. Additionally, a link to the instructions will be
included in the notice you receive from the district court.
Sealed documents, except for the presentence investigation report
in criminal appeals, will not be included in the EROA. Access to
sealed documents will continue to be provided by the district court
only upon the filing and granting of a motion to view same in this
court.
Guidance Regarding Citations in Pleadings.
5th Cir. R. 28.2.2 grants the Clerk the authority to create a
standard format for citation to the electronic record on appeal.
You must use the proper citation format when citing to the
electronic record on appeal.
  A. In single record cases, use the short citation form, "ROA"
     followed by a period, followed by the page number.     For
     example, "ROA.123."
  B. For multiple record cases, cite "ROA" followed by a period,
     followed by the Fifth Circuit appellate case number of the
     record referenced, followed by a period, followed by the
     page of the record. For example, "ROA.13-12345.123.".
  C. Please note each individual citation must end                  using   a
     termination of a period (.) or semicolon (;).
Brief Template: The clerk’s office offers brief templates and the
ability to check the brief for potential deficiencies prior to
docketing to assist in the preparation of the brief. To access
these options, log in to CM/ECF and from the Utilities menu, select
‘Brief Template’ (Counsel Only) or ‘PDF Check Document’.
Reminder as to Sealing Documents on Appeal: Our court has a strong
presumption of public access to our court’s records, and the court
scrutinizes any request by a party to seal pleadings, record
excerpts, or other documents on our court docket. Counsel moving
to seal matters must explain in particularity the necessity for
sealing in our court. Counsel do not satisfy this burden by simply
stating that the originating court sealed the matter, as the
circumstances that justified sealing in the originating court may
have changed or may not apply in an appellate proceeding. It is
      Case: 23-50224   Document: 69   Page: 3   Date Filed: 05/10/2023



the obligation of counsel to justify a request to file under seal,
just as it is their obligation to notify the court whenever sealing
is no longer necessary.     An unopposed motion to seal does not
obviate a counsel’s obligation to justify the motion to seal.


                                Sincerely,
                                LYLE W. CAYCE, Clerk



                                By: _________________________
                                Melissa V. Mattingly, Deputy Clerk
                                504-310-7719
Enclosure(s)
cc w/encl:
     Ms. Marissa Benavides
     Mr. Max Bernstein
     Mr. Matthew Borden
     Mr. Ryan A. Botkin
     Ms. Maria Amelia Calaf
     Ms. Katherine Patrice Chiarello
      Ellen Valentik Leonida
      Case: 23-50224    Document: 69   Page: 4   Date Filed: 05/10/2023



                            Case No. 23-50224




Leila Green Little; Jeanne Puryear; Kathy Kennedy; Rebecca
Jones; Richard Day; Cynthia Waring; Diane Moster,
                       Plaintiffs - Appellees
v.
Llano County; Ron Cunningham, in his official capacity as Llano
County Judge; Jerry Don Moss, in his official capacity as Llano
County Commissioner; Peter Jones, in his official capacity as
Llano County Commissioner; Mike Sandoval, in his official
capacity as Llano County Commissioner; Linda Raschke, in her
official capacity as Llano County Commissioner; Amber Milum, in
her official capacity as Llano County Library System Director;
Bonnie Wallace, in her official capacity as Llano County Library
Board Member; Rochelle Wells, in her official capacity as Llano
County Library Board Member; Rhoda Schneider, in her official
capacity as Llano County Library Board Member; Gay Baskin, in
her official capacity as Llano County Library Board Member,
                       Defendants - Appellants
